                                             Case 2:21-cv-04154-SSS-KS Document 19 Filed 07/15/21 Page 1 of 14 Page ID #:77


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                                                6
                                                    Attorneys for Defendants
                                                7 Echo Bridge Acquisition Corp., LLC,
                                                    Steven Paul, and SP Releasing, Inc.
                                                8
                                                9
                                                                        UNITED STATES DISTRICT COURT
                                               10
                                                                       CENTRAL DISTRICT OF CALIFORNIA
                                               11
                A PROFESSIONAL CORPORATION




                                               12   HARVEST AID, LLC, a California          Case No. 2:21-cv-4154-FMO-KS
THE LEICHTER FIRM




                                                    limited liability company,
                                               13                                           Hon. Fernando M. Olguin
                                                                                            Courtroom 6D
                                               14                      Plaintiff,
                                                                                            ANSWER AND AFFIRMATIVE
                                               15          v.                               DEFENSES OF DEFENDANTS
                                               16                                           ECHO BRIDGE ACQUISITION
                                                    STEVEN PAUL, an individual, ECHO        CORP. LLC, STEVEN PAUL, AND
                                               17   BRIDGE ACQUISITIONS CORP.               SP RELEASING, LLC TO
                                                    LLC, a Delaware limited liability       PLAINTIFF’S COMPLAINT
                                               18   company, and SP RELEASING, LLC a
                                               19   California limited liability company,   JURY TRIAL DEMANDED

                                               20                      Defendants.          Complaint Filed: May 19, 2021
                                                                                            Trial Date:   None set
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                                                       AANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS TO PLAINTIFF’S COMPLAINT
                                             Case 2:21-cv-04154-SSS-KS Document 19 Filed 07/15/21 Page 2 of 14 Page ID #:78



                                                1         Defendant Echo Bridge Acquisition Corp., LLC, sued erroneously herein as
                                                2 Echo Bridge Acquisitions Corp. LLC (“EBAC”), defendant Steven Paul (“Paul”),
                                                3 and defendant SP Releasing, LLC (“SP”) (collectively, “Defendants”) hereby
                                                4 respond to the Complaint of plaintiff Harvest Aid, LLC (“Plaintiff”) as follows:
                                                5                                NATURE OF ACTION
                                                6         1.    The allegations of this paragraph constitute legal conclusions to which
                                                7 no response is required. To the extent a response is required, Defendants deny
                                                8 them.
                                                9                                        THE PARTIES
                                               10         2.    To the extent a response is required, Defendants lack knowledge or
                                               11 information sufficient to form a belief regarding the allegations in this paragraph,
                A PROFESSIONAL CORPORATION




                                               12 and therefore deny them.
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                                               13         3.    Defendants admit the allegations in this paragraph.
                                               14         4.    Defendants admit the allegations in this paragraph.
                                               15         5.    Defendants admit the allegations in this paragraph.
                                               16         6.    The allegations in this paragraph constitute legal conclusions to which
                                               17 no response is required. To the extent a further response is required, Defendants
                                               18 deny them.
                                               19         7.    The allegations in this paragraph constitute legal conclusions to which
                                               20 no response is required. To the extent a further response is required, Defendants
                                               21 deny them.
                                               22         8.    The allegations in this paragraph constitute legal conclusions to which
                                               23 no response is required. To the extent a further response is required, Defendants
                                               24 deny them.
                                               25         9.    The allegations in this paragraph constitute legal conclusions to which
                                               26 no response is required. To the extent a further response is required, Defendants
                                               27 deny them.
                                               28

                                                                                             1
                                                       ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS TO PLAINTIFF’S COMPLAINT
                                             Case 2:21-cv-04154-SSS-KS Document 19 Filed 07/15/21 Page 3 of 14 Page ID #:79



                                                1        10.    The allegations in this paragraph constitute legal conclusions to which
                                                2 no response is required. To the extent a further response is required, Defendants
                                                3 deny them.
                                                4        11.    The allegations in this paragraph constitute legal conclusions to which
                                                5 no response is required. To the extent a further response is required, Defendants
                                                6 deny them.
                                                7        12.    The allegations in this paragraph constitute legal conclusions to which
                                                8 no response is required. To the extent a further response is required, Defendants
                                                9 deny them.
                                               10                               JURISDICTION AND VENUE
                                               11        13.    The allegations in this paragraph constitute legal conclusions to which
                A PROFESSIONAL CORPORATION




                                               12 no response is required. To the extent a further response is required, Defendants
THE LEICHTER FIRM




                                               13 lack knowledge or information sufficient to form a belief regarding the allegations
                                               14 in this paragraph, and therefore deny them.
                                               15        14.    Defendants admit that Defendants transact business in this judicial
                                               16 district, but except as expressly admitted, the remaining allegations in this paragraph
                                               17 constitute legal conclusions to which no response is required. To the extent a
                                               18 further response is required, Defendants lack knowledge or information sufficient to
                                               19 form a belief regarding the allegations in this paragraph, and therefore deny them.
                                               20                                FACTUAL BACKGROUND
                                               21        15.    Defendants lack knowledge or information sufficient to form a belief
                                               22 regarding the allegations in this paragraph, and therefore deny them.
                                               23        16.    Defendants lack knowledge or information sufficient to form a belief
                                               24 regarding the allegations in this paragraph, and therefore deny them.
                                               25        17.    Defendants lack knowledge or information sufficient to form a belief
                                               26 regarding the allegations in this paragraph, and therefore deny them.
                                               27        18.    Defendants lack knowledge or information sufficient to form a belief
                                               28 regarding the allegations in this paragraph, and therefore deny them.

                                                                                             2
                                                       ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS TO PLAINTIFF’S COMPLAINT
                                             Case 2:21-cv-04154-SSS-KS Document 19 Filed 07/15/21 Page 4 of 14 Page ID #:80



                                                1        19.   Defendants lack knowledge or information sufficient to form a belief
                                                2 regarding the allegations in this paragraph, and therefore deny them.
                                                3        20.   Defendants lack knowledge or information sufficient to form a belief
                                                4 regardinthe allegations in this paragraph, and therefore deny them.
                                                5        21.   Defendants lacks knowledge or information sufficient to form a belief
                                                6 regarding the allegations in this paragraph, and therefore denies them.
                                                7        22.    Defendants lack knowledge or information sufficient to form a belief
                                                8 regarding the allegations in this paragraph, and therefore deny them.
                                                9        23.   Defendants admit that, on or about January 17, 2018, Wax Works, Inc.
                                               10 (“Wax Works”) entered into an agreement with SP to distribute DVDs of the Picture
                                               11 to Walmart, but except as expressly admitted, Defendants deny the allegations in
                A PROFESSIONAL CORPORATION




                                               12 this paragraph.
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                                               13        24.   Defendants admit that Wax Works did not grant SP the right to
                                               14 distribute DVDs of the Picture to any retailer or entity other than Walmart, but
                                               15 except as expressly admitted, Defendants lack knowledge or information sufficient
                                               16 to form a belief regarding the allegations in this paragraph, and therefore deny them.
                                               17        25.   Defendants admit that Wax Works did not grant SP the right to
                                               18 replicate and/or manufacture DVDs of the Picture, but except as expressly admitted,
                                               19 Defendants lack knowledge or information sufficient to form a belief regarding the
                                               20 allegations in this paragraph, and therefore deny them.
                                               21        26.   Defendants admit that SP has in the past distributed DVDs of the
                                               22 Picture to Walmart, but except as expressly admitted, Defendants deny the
                                               23 allegations in this paragraph.
                                               24        27.   Defendants deny the allegations in this paragraph that “the first batch of
                                               25 DVDs sold out,” and as to the other allegations in this paragraph, Defendants deny
                                               26 that “Defendants requested more DVDs from Wax Works,” and Defendants lack
                                               27 knowledge or information sufficient to form a belief regarding the allegations in this
                                               28 paragraph, and therefore deny them.

                                                                                             3
                                                       ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS TO PLAINTIFF’S COMPLAINT
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                                                1        28.    Defendants deny the allegations in this paragraph.
                                                2        29.    Defendants deny the allegations in this paragraph.
                                                3        30.    Defendants deny the allegations in this paragraph.
                                                4        31.    Defendants deny the allegations in this paragraph to the extent that
                                                5 Plaintiff alleges that EBAC, or any of Defendants, sold DVDs to Jax in any amount
                                                6 at any point in time from any location, and further, with respect to the remaining
                                                7 allegations in this paragraph, Defendants lack knowledge or information sufficient
                                                8 to form a belief regarding the allegations in this paragraph, and therefore deny them.
                                                9        32.    Defendants deny the allegations in this paragraph to the extent that
                                               10 Plaintiff alleges that EBAC sold DVDs to Jax in any amount at any point in time
                                               11 from any location, and further, with respect to the remaining allegations in this
                A PROFESSIONAL CORPORATION




                                               12 paragraph, Defendants lack knowledge or information sufficient to form a belief
THE LEICHTER FIRM




                                               13 regarding the allegations in this paragraph, and therefore deny them.
                                               14        33.    Defendants lack knowledge or information sufficient to form a belief
                                               15 regarding the allegations in this paragraph, and therefore deny them.
                                               16        34.    Defendants lack knowledge or information sufficient to form a belief
                                               17 regarding the allegations in this paragraph, and therefore deny them.
                                               18        35.    Defendants deny the allegations in this paragraph to the extent that
                                               19 Plaintiff alleges that EBAC shipped or sold DVDs to Jax in any amount at any point
                                               20 in time from any location, and further, with respect to the remaining allegations in
                                               21 this paragraph, Defendants lack knowledge or information sufficient to form a belief
                                               22 regarding the allegations in this paragraph, and therefore deny them.
                                               23        36.    Defendants lack knowledge or information sufficient to form a belief
                                               24 regarding the allegations in this paragraph, and therefore deny them.
                                               25        37.    Defendants lacks knowledge or information sufficient to form a belief
                                               26 regarding the allegations in this paragraph, and therefore deny them.
                                               27        38.    Defendants lack knowledge or information sufficient to form a belief
                                               28 regarding the allegations in this paragraph, and therefore deny them.

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                                                       ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS TO PLAINTIFF’S COMPLAINT
                                             Case 2:21-cv-04154-SSS-KS Document 19 Filed 07/15/21 Page 6 of 14 Page ID #:82



                                                1        39.   Defendants deny the allegations in this paragraph to the extent that
                                                2 Plaintiff alleges that EBAC shipped or sold DVDs to Jax in any amount at any point
                                                3 in time from any location, and further, with respect to the remaining allegations in
                                                4 this paragraph, Defendants lack knowledge or information sufficient to form a belief
                                                5 regarding the allegations in this paragraph, and therefore deny them.
                                                6        40.   Defendants lack knowledge or information sufficient to form a belief
                                                7 regarding the allegations in this paragraph, and therefore deny them.
                                                8        41.   Defendants lack knowledge or information sufficient to form a belief
                                                9 regarding the allegations in this paragraph, and therefore deny them.
                                               10        42.   Defendants lack knowledge or information sufficient to form a belief
                                               11 regarding the allegations in this paragraph, and therefore deny them.
                A PROFESSIONAL CORPORATION




                                               12        43.   Defendants lack knowledge or information sufficient to form a belief
THE LEICHTER FIRM




                                               13 regarding the allegations in this paragraph, and therefore deny them.
                                               14        44.   Defendants lack knowledge or information sufficient to form a belief
                                               15 regarding the allegations in this paragraph, and therefore deny them.
                                               16        45.   The allegations in this paragraph constitute legal conclusions to which
                                               17 no response is required. To the extent a further response is required, Defendants
                                               18 lack knowledge or information sufficient to form a belief regarding the allegations
                                               19 in this paragraph, and therefore deny them.
                                               20                    FIRST PURPORTED CAUSE OF ACTION
                                               21        46.   No response is required to the allegations of this paragraph.
                                               22        47.   The allegations in this paragraph constitute legal conclusions to which
                                               23 no response is required. To the extent a further response is required, Defendants
                                               24 lack knowledge or information sufficient to form a belief regarding the allegations
                                               25 in this paragraph, and therefore deny them.
                                               26        48.   Defendants lack knowledge or information sufficient to form a belief
                                               27 regarding the allegations in this paragraph, and therefore deny them.
                                               28

                                                                                             5
                                                      ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS TO PLAINTIFF’S COMPLAINT
                                             Case 2:21-cv-04154-SSS-KS Document 19 Filed 07/15/21 Page 7 of 14 Page ID #:83



                                                1        49.    Defendants lack knowledge or information sufficient to form a belief
                                                2 regarding the allegations in this paragraph, and therefore deny them.
                                                3        50.    The allegations in this paragraph constitute legal conclusions to which
                                                4 no response is required. To the extent a further response is required, Defendants
                                                5 lack knowledge or information sufficient to form a belief regarding the allegations
                                                6 in this paragraph, and therefore deny them.
                                                7        51.    The allegations in this paragraph constitute legal conclusions to which
                                                8 no response is required. To the extent a further response is required, Defendants
                                                9 lack knowledge or information sufficient to form a belief regarding the allegations
                                               10 in this paragraph, and therefore deny them.
                                               11        52.    The allegations in this paragraph constitute legal conclusions to which
                A PROFESSIONAL CORPORATION




                                               12 no response is required. To the extent a further response is required, Defendants
THE LEICHTER FIRM




                                               13 deny them.
                                               14        53.    Defendants admit that Plaintiff never granted Defendants a license to
                                               15 manufacture copies of the Picture, but deny that Defendants ever manufactured any
                                               16 copies of the Picture.
                                               17        54.    Defendants admit that Defendants “never maintained a license to
                                               18 distribute counterfeit copies of the Picture[,]” but deny that Defendants ever
                                               19 knowingly distributed counterfeit copies of the Picture.
                                               20        55.    Defendants admit the allegations in this paragraph.
                                               21        56.    Defendants deny the allegations in this paragraph.
                                               22        57.    Defendants deny the allegations in this paragraph.
                                               23        58.    Defendants deny the allegations in this paragraph.
                                               24        59.    Defendants deny the allegations in this paragraph.
                                               25        60.    The allegations in this paragraph constitute legal conclusions to which
                                               26 no response is required. To the extent a further response is required, Defendants
                                               27 deny the allegations in this paragraph.
                                               28

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                                                       ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS TO PLAINTIFF’S COMPLAINT
                                             Case 2:21-cv-04154-SSS-KS Document 19 Filed 07/15/21 Page 8 of 14 Page ID #:84



                                                1        61.   The allegations in this paragraph constitute legal conclusions to which
                                                2 no response is required. To the extent a further response is required, Defendants
                                                3 deny the allegations in this paragraph.
                                                4        62.   The allegations in this paragraph constitute legal conclusions to which
                                                5 no response is required. To the extent a further response is required, Defendants
                                                6 deny the allegations in this paragraph.
                                                7        63.   The allegations in this paragraph constitute legal conclusions to which
                                                8 no response is required. To the extent a further response is required, Defendants
                                                9 deny the allegations in this paragraph.
                                               10        64.   The allegations in this paragraph constitute legal conclusions to which
                                               11 no response is required. To the extent a further response is required, Defendants
                A PROFESSIONAL CORPORATION




                                               12 deny the allegations in this paragraph.
THE LEICHTER FIRM




                                               13        65.   The allegations in this paragraph constitute legal conclusions to which
                                               14 no response is required. To the extent a further response is required, Defendants
                                               15 deny the allegations in this paragraph.
                                               16        66.   The allegations in this paragraph constitute legal conclusions to which
                                               17 no response is required. To the extent a further response is required, Defendants
                                               18 deny the allegations in this paragraph.
                                               19                    SECOND PURPORTED CAUSE OF ACTION
                                               20        67.   No response is required to the allegations of this paragraph.
                                               21        68.   No response is required to the allegations of this paragraph.
                                               22        69.   The allegations in this paragraph constitute legal conclusions to which
                                               23 no response is required. To the extent a further response is required, Defendants
                                               24 lack knowledge or information sufficient to form a belief regarding the allegations
                                               25 in this paragraph, and therefore deny them.
                                               26        70.   The allegations in this paragraph constitute legal conclusions to which
                                               27 no response is required. To the extent a further response is required, Defendants
                                               28 deny the allegations in this paragraph.

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                                                       ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS TO PLAINTIFF’S COMPLAINT
                                             Case 2:21-cv-04154-SSS-KS Document 19 Filed 07/15/21 Page 9 of 14 Page ID #:85



                                                1        71.    The allegations in this paragraph constitute legal conclusions to which
                                                2 no response is required. To the extent a further response is required, Defendants
                                                3 deny the allegations in this paragraph.
                                                4        72.    The allegations in this paragraph constitute legal conclusions to which
                                                5 no response is required. To the extent a further response is required, Defendants
                                                6 deny the allegations in this paragraph.
                                                7        73.    The allegations in this paragraph constitute legal conclusions to which
                                                8 no response is required. To the extent a further response is required, Defendants
                                                9 deny the allegations in this paragraph.
                                               10        74.    The allegations in this paragraph constitute legal conclusions to which
                                               11 no response is required. To the extent a further response is required, Defendants
                A PROFESSIONAL CORPORATION




                                               12 deny the allegations in this paragraph.
THE LEICHTER FIRM




                                               13        75.    The allegations in this paragraph constitute legal conclusions to which
                                               14 no response is required. To the extent a further response is required, Defendants
                                               15 deny the allegations in this paragraph.
                                               16                                PRAYER FOR RELIEF
                                               17        Defendants deny each and every allegation, averment, conclusion of law, and
                                               18 statement not specifically admitted above. Defendants also deny that Plaintiff
                                               19 suffered damages and deny that Plaintiff is entitled to any relief by statute, law,
                                               20 equity, or otherwise, from Defendants, or any of them.
                                               21                    DEFENDANTS’ AFFIRMATIVE DEFENSES
                                               22        Without assuming the burden of proof on any matters that would otherwise
                                               23 rest with Plaintiff, and expressly denying any and all wrongdoing, Defendants
                                               24 EBAC, Paul, and SP further respond to Plaintiff’s Complaint by alleging the
                                               25 following affirmative defenses.
                                               26                          FIRST AFFIRMATIVE DEFENSE
                                               27                               (Failure to State a Claim)
                                               28

                                                                                              8
                                                       ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS TO PLAINTIFF’S COMPLAINT
                                             Case 2:21-cv-04154-SSS-KS Document 19 Filed 07/15/21 Page 10 of 14 Page ID #:86



                                                1         76.    Plaintiff’s claims are barred in whole or in part because they fail to
                                                2 state a claim upon which relief can be granted.
                                                3                         SECOND AFFIRMATIVE DEFENSE
                                                4                                     (Lack of Standing)
                                                5         77.    Plaintiff’s claims are barred in whole or in part because Plaintiff lacks
                                                6 standing to assert the claims and/or because the claims are more properly asserted
                                                7 by another.
                                                8                           THIRD AFFIRMATIVE DEFENSE
                                                9                             (No Subject Matter Jurisdiction)
                                               10         78.    Plaintiff’s Complaint and each claim therein is barred, in whole or in
                                               11 part, because there is not federal subject matter jurisdiction over this dispute
                A PROFESSIONAL CORPORATION




                                               12 between the parties.
THE LEICHTER FIRM




                                               13                         FOURTH AFFIRMATIVE DEFENSE
                                               14                                    (Unjust Enrichment)
                                               15         79.    Plaintiff’s claims are barred, in whole or in part, because Plaintiff
                                               16 would be unjustly enriched if it was allowed to recover any part of the damages
                                               17 alleged. Specifically, Plaintiff would be recovering damages to which it is not
                                               18 entitled because it granted Wax Works express consent to license or assign to SP the
                                               19 rights obtained by virtue of the agreements at issue in this action.
                                               20                           FIFTH AFFIRMATIVE DEFENSE
                                               21                 (Adequacy of Remedy at Law / No Injunctive Relief)
                                               22         80.    Plaintiff’s claim for injunctive relief is barred in light of the fact that it
                                               23 has an adequate remedy at law, and therefore, is not entitled to equitable relief.
                                               24 Plaintiff’s claim for injunctive relief is also barred in light of the fact that it has not
                                               25 suffered and will not suffer irreparable harm due to any alleged conduct by
                                               26 Defendants. Defendants dispute that Plaintiff suffered any harm whatsoever; but if
                                               27 Plaintiff is able to prove harm, Plaintiff has an adequate remedy at law in the form
                                               28 of monetary damages.

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                                                       ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS TO PLAINTIFF’S COMPLAINT
                                             Case 2:21-cv-04154-SSS-KS Document 19 Filed 07/15/21 Page 11 of 14 Page ID #:87



                                                1                         SIXTH AFFIRMATIVE DEFENSE
                                                2                                  (Failure to Mitigate)
                                                3        81.    If Plaintiff suffered any damages, it would be because Plaintiff did not
                                                4 timely take reasonable steps to mitigate its alleged damages.
                                                5                       SEVENTH AFFIRMATIVE DEFENSE
                                                6                                 (Estoppel and Waiver)
                                                7        82.    The Complaint, and each purported cause of action therein, is barred, in
                                                8 whole or in part, by the doctrines of estoppel and waiver.
                                                9                            EIGHTH AFFIRMATIVE DEFENSE
                                               10                                 (Real Party in Interest)
                                               11        83.    Plaintiff’s claims are barred because Plaintiff is not the real party in
                A PROFESSIONAL CORPORATION




                                               12 interest.
THE LEICHTER FIRM




                                               13                             NINTH AFFIRMATIVE DEFENSE
                                               14                 (Alleged Damages Not Caused By The Defendants)
                                               15        84.    Plaintiff’s claims are barred because to the extent that Plaintiff suffered
                                               16 any of the damages alleged, such damages were not caused by any actions or
                                               17 omissions by these Defendants, but, rather, were caused by the actions or omissions
                                               18 of Plaintiff and/or of other persons not named as defendants in the Complaint.
                                               19                            TENTH AFFIRMATIVE DEFENSE
                                               20                                    (Justification/Privilege)
                                               21        85.    The Complaint, and each of the purported causes of action therein, are
                                               22 barred because the Defendant’s acts and/or omissions were justified and/or
                                               23 privileged under statutory and/or common law.
                                               24                        ELEVENTH AFFIRMATIVE DEFENSE
                                               25                                       (No Actual Injury)
                                               26        86.    The Complaint, and each of the purported causes of action therein, is
                                               27 barred because Plaintiff has suffered no actual injury as a result of Defendants’
                                               28 conduct or of any omission by Defendants.

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                                                       ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS TO PLAINTIFF’S COMPLAINT
                                             Case 2:21-cv-04154-SSS-KS Document 19 Filed 07/15/21 Page 12 of 14 Page ID #:88



                                                1                            TWELFTH AFFIRMATIVE DEFENSE
                                                2                                        (Other Defenses)
                                                3        87.    Defendants intend to rely on any other defenses that may be available
                                                4 by law, or pursuant to statute, of which Defendants become aware as a result of
                                                5 discovery or otherwise during the course of this matter, and hereby reserve the right
                                                6 to assert such defenses.
                                                7
                                                8
                                                9
                                               10                            DEMAND FOR A JURY TRIAL
                                               11        Pursuant to Federal Rule of Civil Procedure 38, Defendants EBAC, Paul, and
                A PROFESSIONAL CORPORATION




                                               12 SP hereby demand trial by jury as to all issues so triable in this action.
THE LEICHTER FIRM




                                               13
                                               14 Dated: July 15, 2021
                                                                                                   THE LEICHTER FIRM,
                                                                                                   A Professional Corporation
                                               15
                                               16
                                                                                                   By: _/s/ Kevin J. Leichter_______
                                               17                                                      Kevin J. Leichter, Esq.
                                               18                                                      Steven J. Aaronoff, Esq.
                                                                                                       Attorneys for Defendants Echo
                                               19                                                      Bridge Acquisition Corp. LLC,
                                               20                                                      Steven Paul, and SP Releasing,
                                                                                                       LLC
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                                                       ANSWER AND AFFIRMATIVE DEFENSES OF DEFENDANTS TO PLAINTIFF’S COMPLAINT
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    1                                        PROOF OF SERVICE
    2
                         STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
    3
                I am employed in the County of Los Angeles, State of California; I am over the age of 18
    4   and not a party to the within action; my business address is 10203 Santa Monica Boulevard, 4th
        Floor, Los Angeles, CA 90067.
    5
    6       On July 15, 2021, I served the foregoing document(s) described ANSWER AND
        AFFIRMATIVE DEFENSES OF DEFENDANTS ECHO BRIDGE
    7   ACQUISITION CORP. LLC, STEVEN PAUL, AND SP RELEASING, LLC
        TO PLAINTIFF’S COMPLAINT- JURY TRIAL DEMANDED on the interested
    8   parties to this action by delivering a copy thereof in a sealed envelope addressed to each of said
    9   interested parties at the following addresses:
                                See Attached Service List.
   10
        ¨      (BY MAIL) I deposited the foregoing document(s) in a sealed envelope for collection by
   11          the United States Postal Service this same day in the ordinary course of business. Service
               made pursuant to this paragraph0, upon motion of a party served, shall be presumed invalid
   12          if the postal cancellation date of postage meter date on the envelope is more than one day
   13          after the date of deposit for mailing contained in this affidavit.

   14   ¨      (BY E-MAIL SERVICE) I caused such document to be delivered electronically via e-mail
               to the e-mail address of the addressee(s) set forth in the attached service list.
   15
        ý      (BY ELECTRONIC SERVICE) I am submitting the document(s) identified above for
   16          filing which caused such document to be delivered electronically via e-mail to the e-mail
               address of the addressee(s) set forth in the attached service list.
   17
        ¨      (BY OVERNIGHT DELIVERY) I served the foregoing document by Fed Ex, an express
   18          service carrier which provides overnight delivery, as follows: I placed true copies of the
               foregoing document in sealed envelopes or packages designated by the express service
   19          carrier, addressed to each interested party as set forth above, with fees for overnight
   20          delivery paid or provided for.

   21   ¨      (BY PERSONAL SERVICE) I caused such envelope to be delivered by hand to the
               offices of the above named addressee(s) or at the court hearing.
   22
        ¨      (State)    I declare under penalty of perjury under the laws of the State of California that
   23
                          the above is true and correct.
   24
        ý      (Federal) I declare that I am employed in the office of a member of the bar of this court at
   25                     whose direction the service was made. I declare under penalty of perjury that
                          the above is true and correct.
   26
               Executed on July 15, 2021 at Los Angeles, California.
   27

   28                                                             /s/ Kevin J. Leichter
                                                             KEVIN J. LEICHTER

                                             Proof of Service
Case 2:21-cv-04154-SSS-KS Document 19 Filed 07/15/21 Page 14 of 14 Page ID #:90



    1                                    SERVICE LIST
    2
        Addressee(s)
    3
                                              Attorneys for Plaintiff Harvest Aid, LLC
    4
        Justin R. Trauben, Esq.
    5
        Singh, Singh & Trauben, LLP
    6   400 S. Beverly Drive, Suite 240
        Beverly Hills, CA 90212
    7   Telephone: (310) 856-9705
    8   Facsimile: (888) 734-3555
        Email: jtrauben@singhtraubenlaw.com
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                                      Proof of Service
